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                             STATEMENT OF FACTS

       1.       On July 17, 2023, at approximately 1914 hours, the Fourth District dispatcher

voiced and assigned Officer Fernandez, and Officer Villatoro, along with Officer Asolomon to a

Person with a Weapon in the 5000 block of North Capitol St NE. The look out provided was for

three subjects together. One of the subjects was observed removing a handgun from his backpack

and transferring it to his waistband. The caller described this armed subject as a black male,

approximately in his late teens with a loose black du-rag, wearing a white T-shirt and jeans,

carrying a black backpack.

       2.       Officers Fernandez, Villatoro and Alsolomon arrived on the scene and began to

canvass the area for the armed subject. While the officers were canvasing, another assisting unit

made contact with a complainant who confirmed the lookout for the subjects.

       3.       While canvassing the area, Sergeant Orgel observed a black male wearing a white

T­shirt, jeans, with a black backpack matching the description of the lookout. The SUBJECT, later

identified as Clarence MINOR, walked eastbound on the 100 Block of Farragut Street NW,

stopped for a brief second to pick up a child from a group of people, and continued walking

eastbound before turning northbound at First Street NW. The SUBJECT then turned east into the

Unit Block of Gallatin St NW. At that point, Officers Fernandez, Villatoro and Alsolomon arrived

in the Unit Block of Gallatin St NW, and observed the black male wearing a white t-shirt, jeans,

with a black bookbag and carrying toddler in his hand walking eastbound on the Unit Block of

Gallatin St NW.

       4.       As Officers approached the SUBJECT with an intent to initiate the stop, he began

to passively resist and blade his right side away from officers while still holding the child.
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       5.       As Officer Alsolomon reached to handcuff the SUBJECT, he felt and recognized

an L-shaped item on the right side of the SUBJECT’s waistband. The SUBJECT was holding the

child over the area where the L-shaped object was located. Officer Alsolomon lifted SUBJECT's

T-shirt and observed a handgun with an extended magazine on the right side, the same area where

he initially felt the hard L-shaped item. Officer Alsolomon removed the handgun from SUBJECT's

waistband. Officer Fernandez along with Officer Alsolomon successfully placed SUBJECT in

handcuffs while Officer Villatoro removed the child from the SUBJECT’s arms.

       6.       Officer Fernandez and Officer Alsolomon explained the SUBJECT the reason for

the stop and asked SUBJECT if he had a license for the handgun that was retrieved out of

SUBJECT 's waistband. The SUBJECT did not provide an answer and refused to answer the

officer's other questions while he narrated his version of events. Based on the information provided

by the dispatcher, the complainant and the fact SUBJECT did not provide a license for the

handgun, SUBJECT was placed under arrest for Carrying a Pistol without a license.

       7.       At the time of the arrest, the weapon appeared to be operable and able to expel a

projectile through the act if an explosion with a single hand. During a search incident to his arrest,

a large clear plastic bag with a large amount of green leafy substance consistent with marijuana

was recovered from the SUBJECT’s backpack.

       8.       Suspected marijuana was found to weigh 4.5 oz which was greater than that

allowed for personal use. The substance was field tested providing a positive color reaction for the

presence of THC, the controlled substance in marijuana.
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       9.       SUBJECT was charged with the Possession with Intent to Distribute marijuana.

The weapon was a Glock 19 with the serial number FND214. DFS took the weapon for processing.

The weapon was found to be loaded with 10 rounds of ammunition including one in the chamber

and the magazine was designed to hold 31 rounds of 9mm ammunition making it a prohibited

high-capacity magazine.

       10.      A WALES/NCIC query was conducted on the weapon yielding no registration in

the District of Columbia.

       11.      The SUBJECT verbally identified himself as Clarence MINOR, Date Of Birth:

             of Washington DC. MINOR did not have a license to carry a firearm or ammunition

in the District of Columbia. There are no firearm or ammunition manufacturers in the District of

Columbia. Therefore, the firearm and ammunition in this case had to travel in interstate commerce.

All of the aforementioned events occurred within the jurisdictional limits of the District of

Columbia.

       12.      A query of the MINOR’S criminal history revealed he pled guilty to an Unlawful

Possession of a Firearm (Prior Conviction > 1 year) on July 15, 2022, in D.C. Superior Court Case

Number CF2001577. The SUBJECT was sentenced to 14 months incarceration, making him a

Felon and unable to legally possess a firearm. The SUBJECT was released from incarceration in

that case on March 16, 2023.




                                                    _________________________________
                                                    OFFICER REBECCA VILLATORO
                                                    METROPOLITAN POLICE
                                                    DEPARTMENT
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                                       19th DAY OF JULY, 2023.
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